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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,
                                                           23-CR-99-JLS-JJM
           v.
                                                         NOTICE OF MOTION
SIMON GOGOLACK,

                  Defendant.
___________________________________

MOTION BY:                              Jeffrey T. Bagley, Assistant Federal Public
                                        Defender

DATE, TIME & PLACE:                     Before the Honorable Jeremiah J. McCarthy, United
                                        States Magistrate Judge, Robert H. Jackson United
                                        States Courthouse, 2 Niagara Square, Buffalo, New
                                        York, on the papers submitted.

SUPPORTING PAPERS:                      Affirmation of Assistant Federal Public Defender
                                        Jeffrey T. Bagley, dated June 28, 2024

RELIEF REQUESTED:                       Adjournment of Oral Argument Date

DATED:                                  Buffalo, New York, June 28, 2024

                                        /s/ Jeffrey T. Bagley
                                        Jeffrey T. Bagley
                                        Assistant Federal Public Defender
                                        Federal Public Defender’s Office
                                        300 Pearl Street, Suite 200
                                        Buffalo, New York 14202
                                        (716) 551-3341, (716) 551-3346 (Fax)
                                        jeffrey_bagley@fd.org
                                        Counsel for Defendant


TO:   Joseph Tripi, et al.
      Assistant United States Attorneys
      Western District of New York
      138 Delaware Avenue, Federal Centre
      Buffalo, New York 14202
       Case 1:23-cr-00099-LJV-JJM Document 154 Filed 06/28/24 Page 2 of 3



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,                                         23-CR-99-JLS-JJM

               v.
                                                                   AFFIRMATION
SIMON GOGOLACK,

                  Defendant.
___________________________________


        JEFFREY T. BAGLEY, affirms under penalty of perjury that:



        1.      I am an Assistant Federal Public Defender for the Western District of New York

and was assigned to represent the above-named defendant, Simon Gogolack.

        2.      There are several motions currently outstanding. This Court scheduled an oral

argument on these motions on July 11, 2024. I am out of town that date and therefore

respectfully request an adjournment until the week of July 22, 2024.

        3.      I have contacted the other defense attorneys in this case, and none have raised an

objection to this adjournment.

        4.      Mr. Moscato reported that he is unavailable in the morning on July 24 and the

afternoon on July 25.

        5.      Mr. Henry reported that he is unavailable from noon to 1PM on July 23, and 9:30

AM on July 24.

        6.      I acknowledge that time under the Speedy Trial Act should be excluded from July

11, up to the new date selected during the week of July 22, for purposes of continuity of counsel

and in the interests of justice.

        7.      The government objects to the requested adjournment.
      Case 1:23-cr-00099-LJV-JJM Document 154 Filed 06/28/24 Page 3 of 3




      DATED:              Buffalo, New York, June 28, 2024

                                        Respectfully submitted,

                                        /s/ Jeffrey T. Bagley
                                        Jeffrey T. Bagley
                                        Assistant Federal Public Defender
                                        Federal Public Defender’s Office
                                        300 Pearl Street, Suite 200
                                        Buffalo, New York 14202
                                        (716) 551-3341, (716) 551-3346 (Fax)
                                        jeffrey_bagley@fd.org
                                        Counsel for Defendant

TO:   Joseph Tripi, et al.
      Assistant United States Attorneys
      Western District of New York
      138 Delaware Avenue, Federal Centre
      Buffalo, New York 14202




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